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10                                UNITED STATES DISTRICT COURT
11                               NORTHERN DISTRICT OF CALIFORNIA
12   IN RE: ROUNDUP PRODUCTS                      MDL No. 2741
     LIABILITY LITIGATION
13                                                Case No. 3:16-md-02741-VC
14   This document relates to:
                                                  Hearing Date: March 5, 2018
15   ALL ACTIONS                                  Time:         9:00 a.m.
16

17

18               MONSANTO COMPANY’S SUPPLEMENTAL MEMORANDUM
              OF POINTS AND AUTHORITIES REGARDING ANDREOTTI, ET AL.,
19        GLYPHOSATE USE AND CANCER INCIDENCE IN THE AGRICULTURAL HEALTH
20             STUDY, JOURNAL OF THE NATIONAL CANCER INSTITUTE (2018)
             IN SUPPORT OF ITS DAUBERT AND SUMMARY JUDGMENT MOTION
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 1                                            INTRODUCTION

 2          “In order to qualify as ‘scientific knowledge’ [as required by Rule 702], an inference must

 3   be derived by the scientific method. Coming to a firm conclusion first and then doing research to

 4   support it is the antithesis of [the scientific] method.” Claar v. Burlington N. R. Co., 29 F.3d 499,

 5   502-03 (9th Cir. 1994) (citations omitted). This unscientific approach, however, describes the

 6   methodology used by plaintiffs’ experts in discounting powerful new epidemiologic evidence

 7   directly contrary to their general causation opinion that glyphosate-based herbicides (“GBHs”)

 8   cause non-Hodgkin’s lymphoma (“NHL”). See G. Andreotti et al., Glyphosate Use and Cancer
 9   Incidence in the Agricultural Health Study, 110 J. Nat’l Cancer Inst. 1, 1 (2018) (“2018 NCI
10   study”) (“In this large, prospective cohort study, no association was apparent between glyphosate
11   and any solid tumors or lymphoid malignancies overall, including NHL and its subtypes.”). 1
12          Plaintiffs’ experts’ results-oriented arguments against the 2018 NCI study cannot avoid

13   what plaintiffs have acknowledged and Daubert case law makes clear: “[u]nquestionably,

14   epidemiological studies provide the best proof of the general association of a particular substance

15   with particular effects.” 2 Thus, a plaintiff seeking to prove general causation absent unbiased,

16   statistically-significant associations proven through epidemiology faces “a high bar … with respect

17   to the [Daubert] reliability requirement.” Siharath v. Sandoz Pharm. Corp., 131 F. Supp. 2d 1347,

18   1358 (N.D. Ga. 2001), aff’d 295 F.3d 1194 (11th Cir. 2002). 3 Plaintiffs’ experts seek to clear this

19   high bar by lobbing various criticisms at the 2018 NCI study, but “[m]ere criticism of

20   epidemiology cannot establish causation.” Norris v. Baxter Healthcare Corp., 397 F.3d 878, 886

21
     1
22     Id. at 1-2. (This study was identified in earlier filings as the 2017 AHS study. We refer to the
     study herein as the 2018 NCI study to avoid confusion with other AHS studies and to reflect the
23   fact that the study first published online in November 2017 will be published in hard copy in the
     next issue of the NCI journal in 2018.).
24   2
       Pls.’ (1) Resp. in Opp’n to Monsanto Co.’s Daubert & Summ. J. Mot. Based on Failure of Gen.
25   Causation Proof & (2) Daubert Mot. to Strike Certain Op. of Monsanto Co.’s Expert Witnesses at
     19, 20, ECF No. 647 (“Opp’n Br.”).
     3
26     See also Pritchard v. Dow Agro Scis., 705 F. Supp. 2d 471, 485 (W.D. Pa. 2010) (“while an
     expert’s conclusions reached on the basis of other studies could be sufficiently reliable where no
27   epidemiological studies have been conducted, no reliable scientific approach can simply ignore the
     epidemiology that exists”), aff’d 430 Fed. App’x 102 (3d Cir. 2011) (emphasis added).
28                                                1
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 1   (10th Cir. 2005). “Plaintiffs’ burden is an affirmative one, not served by such attacks.” Caraker v.

 2   Sandoz Pharm. Corp., 188 F. Supp. 2d 1026, 1034 (S.D. Ill. 2001). Moreover, plaintiffs’ experts’

 3   criticisms are a complete “about face” of their pre-2018 NCI study opinions. Such unabashed

 4   willingness to fully abandon or otherwise qualify prior opinions to reach desired results renders

 5   their opinions unreliable under Daubert. 4

 6   I.     The 2018 NCI Study is the Most Powerful Epidemiologic Evidence Regarding GBHs
            and NHL and Answers Plaintiffs’ Experts’ Previous Criticisms of the 2005 AHS
 7          Study.
 8          In order to satisfy their affirmative burden under Daubert, plaintiffs’ experts must explain
 9   how they can reliably opine that GBHs cause NHL in the face of the 2018 NCI study’s powerful
10   findings of no such association. See In re Nexium Esomeprazole, 662 Fed. App’x 528, 530 (9th
11   Cir. 2016) (affirming exclusion of plaintiffs’ general causation expert who “did not adequately
12   explain how he inferred a causal relationship from epidemiological studies that did not come to
13   such a conclusion themselves”); In re Zoloft (Sertraline Hydrochloride) Prod. Liab. Litig., MDL
14   No. 2342, No. 12-md-2342, 2015 WL 7776911, at *9 (E.D. Pa. Dec. 2, 2015) (excluding testimony
15   of expert who failed to account for more recent epidemiologic findings contrary to his causation
16   opinion), aff’d 858 F.3d 787 (3d Cir. 2017). They fail to satisfy their burden.
17          As plaintiffs’ experts concede, the 2018 NCI study is by far the largest epidemiologic study
18   of GBHs and NHL, with data on more exposed NHL cases than all of the other glyphosate

19   epidemiologic studies combined. 5 The 2018 NCI study includes significantly more years of

20   follow-up after exposure (to allow for latency of NHL development) than any other epidemiology

21   study, extending nearly 40 years after the introduction of glyphosate onto the market. 6 Further,

22   aside from earlier studies of the AHS cohort, the 2018 NCI study is the only epidemiologic study

23
     4
       See In re Bausch & Lomb, Inc. Contact Lens Solution Prod. Liab. Litig., MDL No. 1785, Civil
24   Action No. 2:06-MN-77777-DCN, 2009 WL 2750462, *13 (D.S.C. Aug. 26, 2009) (excluding
25   general causation expert whose “changing opinions, and willingness to abandon or qualify her
     opinions when faced with further facts, undermines the reliability of her opinions”).
     5
26     Dep. of Christopher Portier 20:9-13 (Jan. 12, 2018) (Hollingsworth Decl., Ex. 1) (“Portier Supp.
     Dep.”).
27   6
       Dep. of Alfred Neugut 14:21-15:1 (Jan. 3, 2018) (Hollingsworth Decl., Ex. 2) (“Neugut Supp.
     Dep.”); Portier Supp. Dep. 16:23-17:2.
28                                               2
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 1   involving a dose-response analysis of GBH exposure and NHL that accounts for exposure-

 2   influencing variables such as applicator use of personal protective equipment. 7 The 2018 NCI

 3   study was funded by the National Cancer Institute (“NCI”) and National Institute of Environmental

 4   Health Sciences (“NIEHS”), which means that “high standards and best practices are used to

 5   ensure that the data is accurate.” 8 It was authored by NCI, NIEHS and independent academician

 6   scientists, and was published in one of the most highly respected, peer-reviewed cancer journals in

 7   the world. 9 And the 2018 NCI study is part of a broader AHS cohort investigation that has

 8   resulted to date in over 250 studies and publications in peer-reviewed scientific journals, without
 9   the broadside criticisms leveled by plaintiffs’ litigation experts here. 10
10           The 2018 NCI study’s conclusions are unequivocal: “In our study, we observed no

11   associations between glyphosate use and NHL overall or any of its subtypes.” 2018 NCI study at

12   7 (emphasis added). The lack of association held true regardless of how one looked at the data:

13   “This lack of association was consistent for both exposure metrics, unlagged and lagged analyses,

14   after further adjustments for pesticides linked to NHL in previous AHS analyses, and when we

15   excluded multiple myeloma from the NHL grouping.” Id. “These findings were unchanged in

16   sensitivity analyses [investigating the possibility of biases], including further adjustments for

17   additional potential confounders, or by exclusion of women and non-whites.” Id. at 3. Plaintiffs’

18   experts concede further that the 2018 NCI study found no association between GBHs and NHL

19   when it looked at exposures dating back prior to the introduction of Roundup® Ready (glyphosate

20
     7
21     Neugut Supp. Dep. 29:18-30:21; Dep. of Alfred Neugut 132:23-133:3 (Aug. 7, 2017), ECF No.
     546-3 (“Neugut Init. Dep.”); Dep. of Dennis Weisenburger 91:25-92:6 (Jan. 22, 2018)
22   (Hollingsworth Decl., Ex. 3). As plaintiffs’ expert Dr. Portier acknowledged, “[f]or most
     epidemiologists, they would argue [this] intensity measure is probably a better measure” of
23   exposure. Portier Supp. Dep. 71:22-23. While criticizing the intensity measure here as a litigation
     expert, plaintiffs’ expert Dr. Ritz has used the same intensity measure in her own published
24   epidemiological studies looking at pesticide exposure and Parkinson’s disease. Dep. of Beate Ritz
25   108:24-109:18, 109:25-110:13 (Jan. 19, 2018) (Hollingsworth Decl., Ex. 4) (“Ritz Supp. Dep.”).
     8
       Dep. of Chadi Nabhan 25:12-17 (Jan. 15, 2018) (Hollingsworth Decl., Ex. 5) (“Nabhan Supp.
26   Dep.”).
     9
       Neugut Supp. Dep. 12:17-14:4; Portier Supp. Dep. 7:4-24; Dep. of Charles Jameson 6:5-12, 73:3-
27   74:24, 76:5-24 (Jan. 10, 2018) (Hollingsworth Decl., Ex. 6) (“Jameson Supp. Dep.”).
     10
        See Publications, Agricultural Health Study, https://aghealth.nih.gov/news/publications.html.
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 1   tolerant) crops or after the introduction of Roundup® Ready crops and the corresponding increase

 2   in glyphosate use. 11 The study’s primary analyses of NHL show uniformly null results at every

 3   level (quartile) of GBH exposure. 12

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 9          Moreover, taking into account these updated study results, the full body of glyphosate

10   epidemiologic literature unambiguously fails to provide any support for a causal association

11   between GBHs and NHL. To the contrary, the full body of literature shows non-significant

12   adjusted odds ratios and risk ratios in the individual epidemiology studies above and below 1.0,

13   which plaintiffs’ experts acknowledge is the expected pattern where there is no association

14   between an exposure and a disease. 13

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22          The 2018 NCI study also directly refutes plaintiffs’ experts’ prior criticisms of earlier AHS
23
     11
        Neugut Supp. Dep. 35:9-36:13.
24   12
        Supplemental Expert Report of Lorelei Mucci at 6 (Hollingsworth Decl., Ex. 7) (“Mucci Supp.
25   Rep.”) (Table 1); Supplemental Expert Report of Jennifer Rider at 3 (Hollingsworth Decl., Ex. 8)
     (Figure 1).
     13
26      Expert Report of Alfred Neugut, ECF No. 546-11. Figure 2 taken from Mucci Supp. Rep. at 8.
     The studies identified in Figure 2 encompass the most comprehensive and updated epidemiologic
27   analyses of the four populations that have been studied to date with respect to GBHs and NHL,
     along with a summary meta-analysis of the GBH-NHL epidemiology as a whole.
28                                               4
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 1   analyses. Plaintiffs’ experts reached their earlier general causation opinions by seeking to dismiss

 2   prior AHS epidemiologic studies in 2005 and 2013 as flawed. While plaintiffs’ experts’ criticisms

 3   lacked merit for the reasons we have explained, 14 the 2018 NCI study negates the very criticisms

 4   they had levied in their initial expert reports. For example, plaintiffs’ experts criticized De Roos

 5   2005 as involving too short of a period of time to take account for the long latency period for

 6   potential development of NHL following glyphosate exposure. 15 The 2018 NCI study, however,

 7   includes an additional 12 to 13 years of follow up for NHL outcomes. 16 Plaintiffs’ experts also

 8   criticized De Roos 2005 as being too small (notwithstanding the fact that even this earlier AHS
 9   analysis provided the most powerful adjusted analysis of GBHs and NHL). 17 But the 2018 NCI
10   study is six times larger than De Roos 2005 and, as noted above, is larger than all of the other

11   glyphosate AHS studies combined. 18 Plaintiffs’ experts criticized De Roos 2005 for failing to look

12   at different dates of exposure to assess NHL latency. 19 But the 2018 NCI study looks at different

13   lag periods of exposure to assess NHL latency, finding no associations in any period. 20 Plaintiffs’

14   experts criticized Alavanja 2013 because it was unpublished, and Dr. Ritz contended that its

15   analysis could not withstand peer review. 21 But plaintiffs’ experts acknowledge that the 2018 NCI

16   study was published after rigorous peer review in a leading oncology journal. 22

17   II.     Plaintiffs’ Experts Fail to Apply Proper Scientific Methodology in Their Attempts to
             Discredit the 2018 NCI Study.
18
             Now that the 2018 NCI study negates their previous criticisms, plaintiffs’ experts try to
19
     manufacture other criticisms against the 2018 NCI study to salvage their causation opinions.
20
     14
21      Monsanto Co.’s Notice of Mot. & Daubert & Summ. J. Mot. Based on Failure of Gen. Causation
     Proof, ECF No. 545 (“Monsanto Daubert Br.”); Monsanto Co.’s Reply Mem. of P. & A. in Supp.
22   of Its Daubert & Summ. J. Mot. Based on Failure of Gen. Causation Proof & Opp’n to Pls.’
     Daubert Mot. to Strike Certain Ops. of Monsanto Co.’s Expert Witnesses, ECF No. 681
23   (“Monsanto Daubert Reply Br.”).
     15
        Neugut Supp. Dep. 48:15-23; Portier Supp. Dep. 9:8-12.
24   16
        Neugut Supp. Dep. 48:24-49:2; Portier Supp. Dep. 16:23-17:2.
     17
25      Portier Supp. Dep. 17:3-13.
     18
        Neugut Supp. Dep. 17:25-18:5; Portier Supp. Dep. 20:9-13.
     19
26      Neugut Supp. Dep. 49:3-9.
     20
        Neugut Supp. Dep. 49:9-17; Portier Supp. Dep. 39:17-41:24.
27   21
        Rebuttal Expert Report of Beate Ritz at 8, ECF No. 653-2 (“Ritz Rebuttal Rep.”).
     22
        Neugut Supp. Dep. 11:25-14:4; Jameson Supp. Dep. 77:17-23.
28                                                5
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 1   Plaintiffs’ experts’ criticisms of the epidemiologic evidence cannot satisfy their affirmative burden

 2   under Daubert. See Norris, 397 F.3d at 886. But equally importantly, their criticisms demonstrate

 3   glaring flaws in their expert methodology because they rely on speculation in the face of contrary

 4   data and published analyses. See Henricksen v. ConocoPhillips Co., 605 F. Supp. 2d 1142, 1169-

 5   70 (E.D. Wash. 2009) (expert opinions “must be based on facts which enable [the expert] to

 6   express a reasonably accurate conclusion as opposed to conjecture or speculation”); In re Bextra &

 7   Celebrex Mktg. Sales Pracs. & Prod. Liab. Litig., 524 F. Supp. 2d 1166, 1171 (N.D. Cal. 2007)

 8   (“[T]he trial judge in all cases of proffered expert testimony must find that it is properly grounded,
 9   well-reasoned, and not speculative before it can be admitted.”) (citations omitted).
10           In her initial deposition, plaintiffs’ lead epidemiology expert, Dr. Ritz, explained the
11   methodology that epidemiologists follow outside the courtroom before concluding that a study
12   signals a positive association between an exposure and a disease:
13                  So the short form is that you start with the study design, that you
                    start with the exposure assessment validity, that you start with the
14
                    outcome assessment validity, that you then go into a sample size,
15                  exposure prevalence, any kind of bias you can think of, and once
                    you have wrapped it all together, that’s when you’re doing a lot of
16                  sensitivity analyses in your data to convince yourself that no way -
                    - no matter how you look at your data, there is a signal.
17

18   Dep. of Beate Ritz 48:12-49:12 (Sept. 18, 2017), ECF No. 546-13 (“Ritz Init. Dep.”). In response
19   to the 2018 NCI study, however, Dr. Ritz and all other plaintiffs’ experts abandoned this
20   methodology and concluded that a positive association exists despite independent validation studies
21   and sensitivity analyses showing that no matter how you look at the data there is no signal. 23
22           Plaintiffs’ experts pursue two primary strategies to advance this argument. First,
23   astonishingly, they adopt as their own recommendations for improvements to the AHS study design
24   recommendations first made by others in the late 1990s and early 2000s, while failing to
25   acknowledge that those recommendations were in fact implemented by the AHS investigators years
26
     23
       See Daubert v. Merrell Dow Pharm., Inc., 43 F.3d 1311, 1319 n.11 (9th Cir. 1995) (plaintiffs
27   must “demonstrate in some objectively verifiable way that the expert has both chosen a reliable
     scientific method and followed it faithfully”) (emphasis added).
28                                                6
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 1   prior to the 2018 NCI study. Second, they speculate about potential biases in the 2018 NCI study in

 2   the face of actual data demonstrating that those speculated biases had no impact on the 2018 NCI

 3   study’s findings of no association.

 4           A.     Plaintiffs’ Experts Cannot Reliably Discredit the 2018 NCI Study By Citing
                    Early Recommendations for Improvements to AHS Study Designs That Were
 5                  Adopted Years Prior to the 2018 NCI Study.
 6           In support of their claim that the 2018 NCI study is unreliable, plaintiffs’ experts rely

 7   heavily on a 1997 memorandum by Monsanto’s then in-house epidemiologist, John Acquavella,

 8   and a 2000 publication by Dr. Gray at the Harvard School of Public Health. 24 At her deposition,
 9   however, Dr. Ritz conceded that these documents were prepared during the initial design stage of
10   the AHS cohort and that the recommendations made by Drs. Acquavella and Gray in fact were
11   adopted years prior to the 2018 NCI study. 25 While Dr. Ritz in her supplemental report points to
12   Dr. Acquavella’s 1997 concern about exposure analyses that do not consider application methods

13   and the use of personal protective equipment, she later admitted at her deposition that the AHS

14   investigators in fact incorporated these factors in all of their epidemiologic analyses, including the

15   2018 NCI study. 26 Likewise, Dr. Ritz in her supplemental report points to recommendations made

16   by Dr. Gray in 2000 that the AHS investigators conduct validation and biomonitoring studies to test

17   the reliability of the cohort members’ questionnaire responses regarding pesticides exposures, but

18   she failed to acknowledge until confronted at her deposition that the AHS investigators actually

19   conducted those studies thereafter and had them published in the peer reviewed literature. 27

20

21   24
        See Supplemental Expert Report of Beate Ritz at 4 (Hollingsworth Decl., Ex. 9). Plaintiffs’
22   experts also cite to a 2016 report by the consulting group Exponent, which in fact was repeatedly
     laudatory in its discussion of the AHS methodology. See Monsanto Daubert Reply Br. at 19 n.34.
23   25
        Ritz Supp. Dep. 104:7-105:4, 105:5-106:9, 108:8-23, 133:24-134:14, 136:20-138:8, 143:21-
     145:19, 145:22-147:11, 147:14-150:4.
24   26
        Id. By sharp contrast, the glyphosate case-control studies upon which plaintiffs’ experts so
25   heavily rely ignore these exposure factors. See supra at 11 n.44.
     27
        Ritz Supp. Dep. 137:13-139:6, 141:3-15, 142:25-143:13, 143:21-145:19. Indeed, in sharp
26   contrast to plaintiffs’ experts, even IARC acknowledges the strengths of the AHS study design
     (albeit without knowledge of either the 2013 or 2018 updated analyses showing no association
27   between GBHs and NHL, which would have altered its meta-analysis). See Nabhan Supp. Dep.
     92:25-97-8, 100:5-101:4; Jameson Supp. Dep. 104:13-105:24; Monsanto’s Daubert Br. at 14 n.21.
28                                                7
              MONSANTO’S SUPP. MEM. RE 2018 NCI STUDY ISO ITS DAUBERT & SUMM. J. MTN. RE
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 1           B.     Plaintiffs’ Experts Offer Only Speculation in the Face of Contradictory Data in
                    Validation Studies and Sensitivity Analyses.
 2

 3           Even more fatal to their methodology, plaintiffs’ experts raise nothing more than rank

 4   speculations about potential biases that “could have” impacted the results in the 2018 NCI study.

 5   Plaintiffs’ experts ignore that their claimed biases could not and would not conceal a positive

 6   association between GBHs and NHL if one actually existed; they also impermissibly disregard

 7   validation studies and sensitivity analyses demonstrating that their speculated biases are not born

 8   out in the actual study data, in violation of Daubert. See In re Zoloft (Setraline Hydrochloride)
 9   Prod. Liab. Litig., 858 F.3d 787, 798 (3d Cir. 2017) (excluding general causation expert who relied
10   upon speculative criticisms of epidemiologic study not born out in sensitivity analysis).
11           Plaintiffs’ experts inexplicably focus on the possibility of “nondifferential exposure
12   misclassification” (i.e., errors in identifying glyphosate exposures that are equally likely in cases
13   and controls). 28 Yet plaintiffs’ experts acknowledge that this type of error generally moves a risk
14   ratio closer to the null value of 1.0 (i.e., no association). 29 It would not flip a reported GBH-NHL

15   risk ratio below 1.0 (as reported in the 2018 NCI study) to a statistically significant risk ratio above

16   1.0 (as plaintiffs’ experts need for their causation opinion). 30 Undeterred by their acknowledgement

17   that “most of the time you’re not going to have that,” they offer the following hopeful calculus:

18   with “random error” you “sometimes might” see such a switch. 31 It is upon this “sometimes might”

19   speculation of a “random error” that their entire argument of bias impermissibly relies. 32

20           Remarkably, the very foundation of even this speculative foundation does not exist; the

21   AHS investigators themselves ruled out substantial non-differential exposure misclassification in

22   the 2018 NCI study, as confirmed by independent, peer-reviewed analyses. Thus, although

23
     28
        Portier Supp. Dep. 55:12-19; Ritz Supp. Dep. 99:2-100:6.
24   29
        Ritz Supp. Dep. 127:18-128:17.
     30
25      Mucci Supp. Rep. at 3, 7; see also Ritz Supp. Dep. 127:18-128:17; Dep. of Lorelei Mucci 42:13-
     42:4 (Jan. 23, 2018) (Hollingsworth Decl., Ex. 10); Dep. of Jennifer Rider 25:21-27:7 (Jan. 23,
26   2018) (Hollingsworth Decl., Ex. 11).
     31
        Ritz Supp. Dep. 129:2-19, 132:6-24.
27   32
        See also Neugut Supp. Dep. 124:16-125:3 (cannot point to any data showing that opined biases
     concealed a positive association between GBH exposure and NHL in 2018 NCI study).
28                                                8
              MONSANTO’S SUPP. MEM. RE 2018 NCI STUDY ISO ITS DAUBERT & SUMM. J. MTN. RE
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 1   plaintiffs’ experts hypothesize that the AHS cohort members provided faulty glyphosate exposure

 2   information in their questionnaires, 33 plaintiffs’ experts admitted at deposition that the investigators

 3   demonstrated the reliability of those questionnaire responses through published validation studies

 4   showing close agreement in AHS questionnaire responses for glyphosate exposures provided in

 5   different surveys conducted a year apart. 34 Plaintiffs’ experts also admitted at deposition that

 6   investigators conducted biomonitoring studies that demonstrated that AHS calculations of intensity-

 7   based exposure (taking into account, e.g., whether subjects wore personal protective equipment)

 8   tracked levels of pesticide absorbed through skin, as measured through urine tests. 35
 9           In hunting for other purported bias, plaintiffs’ experts criticize the AHS investigators’ use of
10   a well-accepted imputation methodology to calculate certain exposure data for a portion of the AHS
11   cohort who provided historical exposure data at baseline but who did not complete a second phase
12   questionnaire. 36 Plaintiffs’ experts acknowledge that this imputation methodology is generally
13   accepted in epidemiology and has been used in eight other peer-reviewed studies of the AHS cohort

14   published between 2013 and 2017, three of which presented data specific to glyphosate. 37 They

15   further acknowledge that the imputation methodology has not been criticized by them or anyone

16   else outside of this litigation. 38 They maintain, however, that the imputation methodology is

17   somehow uniquely unreliable for glyphosate because it cannot capture the increased use of

18   glyphosate between the first phase and second phase questionnaires.

19           Again, plaintiffs’ experts’ criticisms do not match the factual record and fail in the face of

20   validation studies conducted by the AHS investigators that confirm the reliability of the imputation

21   methodology. First, the AHS investigators examined whether there were any meaningful

22   differences between responders and non-responders to the second phase questionnaire that could

23   impact the use of the imputation methodology. As set forth in their peer-reviewed, published

24   33
        Id. 65:24-66:5.
     34
25      Id. 67:4-69:3, 76:8-77:4, 78:7-13, 79:6-11, 80:13-19.
     35
        Portier Supp. Dep. 69:2-18.
     36
26      Ritz Supp. Dep. 68:2-74:14; Ritz Supp. Dep., Ex. 30-10 (Hollingsworth Decl., Ex. 12)
     (explaining how imputation is conducted); Neugut Supp. Dep. 106:12-109:11 (same).
27   37
        Neugut Supp. Dep. 122:7-21; Ritz Supp. Dep. 11:16-24:2, 37:4-23.
     38
        Neugut Supp. Dep. 122:23-123:12; Ritz Supp. Dep. 25:17-27:11.
28                                                9
              MONSANTO’S SUPP. MEM. RE 2018 NCI STUDY ISO ITS DAUBERT & SUMM. J. MTN. RE
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 1   analysis, the investigators found that “[d]ifferences between non-participants and participants in the

 2   follow-up interview were generally small, and we did not find significant evidence of selection

 3   bias.” 39 Second, the AHS investigators tested their imputation methodology by using it on a

 4   random subset of cohort members who had responded to the second questionnaire and comparing

 5   their actual responses with data derived through imputation. The investigators concluded that their

 6   imputation method reliably identified second phase pesticide exposures, both generally and for

 7   glyphosate. 40 Despite scientific validation of the results, plaintiffs’ experts speculate that the

 8   increase in GBH use starting in the late 1990s introduced too many variables in the imputation
 9   methodology. But Dr. Ritz conceded at her deposition that this increase was driven almost entirely
10   by the development of just three Roundup® Ready crops (soybeans, corn and cotton), which allows
11   for a simple imputation of future glyphosate use. 41

12           Moreover, plaintiffs’ experts uniformly ignore the sensitivity analyses conducted in the

13   2018 NCI study which demonstrate that there is no association between GBH exposure and NHL

14   with or without use of the imputed data. The study investigators first studied the glyphosate

15   exposure data of all 54,000-plus cohort members from the phase 1 questionnaire and found no

16   association with NHL, with a rate ratio for the highest exposure group of 0.82 (0.62-1.80). 42

17
     39
18      M. Montgomery et al., Effects of Self-Reported Health Conditions and Pesticide Exposures on
     Probability of Follow-up in a Prospective Cohort Study, 53 Am. J. Indus. Med. 486, 486 (2010);
19   Neugut Supp. Dep. 97:9-21.
     40
        Neugut Supp. Dep. 119:12-22; Portier Supp. Dep. 108:7-109:1; see also S. Heltshe et al., Using
20   Multiple Imputation to Assign Pesticide Use for Non-responders in the Follow-up Questionnaire in
21   the Agricultural Health Study, 22 J. Exposure Sci. & Envtl. Epidemiology 409, 409 (2012) (“The
     observed and imputed prevalence of any pesticide use in the holdout dataset were 85.7% and
22   85.3%, respectively. The distribution of prevalence and days/year of use for specific pesticides
     were similar across observed and imputed in the holdout sample.”). Dr. Portier points to an
23   intermediate measure in the Heltshe analysis called the “Brier score” which was used in a further
     calculation of a “Brier skill score” showing the merits of the imputation. He admits, however, that
24   he had never heard the term Brier score before reviewing the paper, that Brier scores cannot
25   compare accuracy of predictions between pesticides with different use prevalence, and that there
     can be – and in the Heltshe analysis was – a complete mismatch between the Brier score and
26   concordance between actual and imputed exposure information. Portier Supp. Dep. 91:24-92:8,
     100:23-101:8, 104:25-105:8, 108:7-25.
27   41
        Ritz Supp. Dep. 43:3-18, 49:12-23, 53:4-15, 55:21-56:20, 57:1-16, 60:25-61:11.
     42
        Ritz Supp. Dep. 76:20-77:21; Ritz Supp. Dep., Ex. 30-12 (Hollingsworth Decl., Ex. 13).
28                                                10
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 1   Second, the investigators looked at all exposure data from the nearly 35,000 cohort members who

 2   responded to both the first and second phase questionnaires. This sub-analysis – which alone is

 3   larger and more powerful than that of any prior glyphosate epidemiology study – likewise found no

 4   association, with a rate ratio for the highest exposure group of 0.90 (0.63 – 1.27). 43 Thus, plaintiffs’

 5   experts’ speculation that the imputation method concealed an actual association between GBHs and

 6   NHL is contrary to the 2018 NCI study’s reported findings. 44

 7   III.    Plaintiffs’ Experts’ Lack of Any Reliable Methodology is Demonstrated By Their
             Shifting Positions in Response to the 2018 NCI Study.
 8
 9           In seeking to avoid the 2018 NCI study findings, plaintiffs’ experts also readily discard
10   previously-expressed opinions that no longer support their conclusion, which is the antithesis of the
11   scientific method. See In re Bausch & Lomb, Inc. Contact Lens Solution Prod Liab. Litig., MDL
12   No. 1785, Civil Action No. 2:06-MN-77777-DCN, 2009 WL 2750462, *13 (D.S.C. Aug. 26, 2009)
13   (excluding general causation expert whose “changing opinions, and willingness to abandon or
14   qualify her opinions when faced with further facts, undermines the reliability of her opinions”). 45
15           Plaintiffs’ experts’ moving-target approach is most clearly illustrated in their discussion of
16   meta-analyses, on which plaintiffs’ experts heavily relied prior to the 2018 NCI study but now
17   abandon because an updated meta-analysis including the 2018 NCI study finds no association. 46
18
     43
        Neugut Supp. Dep. 86:22-88:7; Ritz Supp. Dep. 82:3-83:15; Ritz Supp. Dep., Ex. 30-13
19   (Hollingsworth Decl., Ex. 14).
     44
        Plaintiffs’ experts’ disregard of the AHS validation studies and sensitivity analyses serves as the
20   flip side of the coin from their faulty methodology in assessing the glyphosate case control studies.
21   In those studies, when investigators conducted sensitivity analyses adjusting for the impact of other
     confounding pesticide exposures or the use of less reliable proxy data, the odds ratios upon which
22   plaintiffs’ experts seek to rely disappeared, confirming in the case control studies the same finding
     of no association between GBHs and NHL. See Expert Report of Lorelei Mucci at 45-47, ECF No.
23   546-18 (explaining how adjustments to data in North American case control studies reduced odds
     ratios below 1.0, showing no association); id. at 52-53 (adjusting for confounders in Eriksson case
24   control study reduced odds ratio to non-significant null finding).
     45
25      See also Haller v. AstraZeneca Pharm. LP, 598 F. Supp. 2d 1271, 1296-97 (M.D. Fla. 2009)
     (excluding expert witness whose “veritable moving target” opinion “smacks of post-hoc
26   rationalization and is devoid of the intellectual rigor that Daubert demands”); In re Rezulin Prod.
     Liab. Litig., 309 F. Supp. 2d 531, 563-64 (S.D.N.Y. 2004) (excluding expert who shifted prior
27   position when confronted with epidemiologic studies inconsistent with his prior opinion).
     46
        Mucci Supp. Rep. at 8; Neugut Supp. Dep. 45:1-11.
28                                                11
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 1   Notwithstanding the methodological concerns in relying on meta-associations (acknowledged by

 2   one of their own epidemiology experts in his initial deposition), 47 plaintiffs in their Daubert

 3   Opposition, argued that “meta-analysis is considered the strongest of medical evidence types.”

 4   Opp’n Br. at 28. Plaintiffs’ expert Dr. Ritz was one of the chief proponents of the strength of the

 5   meta-analysis method, citing repeatedly to the meta-relative risks in her initial expert report and

 6   first round of deposition testimony, and arguing that any biases in the underlying studies included in

 7   the meta-analyses likely cancelled out so that the reported summary associations were reliable. 48

 8   With the 2018 NCI study clearly changing the meta-analysis output to “no association,” however,
 9   Dr. Ritz has reversed course. Dr. Ritz now disavows reliance on meta-relative risks, stating that
10   “[a]s a scientist, I never rely on any summaries” and that meta-relative risks are “least informative
11   … because that just gives you a summary estimate that might be highly biased.” 49
12           To avoid the plain import of the 2018 NCI study, Dr. Ritz abandoned other sworn positions

13   as well. For example, in her critique of De Roos 2005, Dr. Ritz argued that the adjustment for

14   confounders in the AHS cohort “would lead to over-adjustment and introduce major bias.” 50 Dr.

15   Ritz argued that “just claiming that something is a confounder is not enough,” 51 and in their

16   Daubert Opposition, plaintiffs criticized using “the mere possibility of uncontrolled confounding …

17   to call into question the results of a study.” Opp’n Br. at 40. Faced now though with the daunting

18   task of turning the null findings in the 2018 NCI study into a statistically significant positive

19   association, Dr. Ritz unabashedly relies on the mere possibility of uncontrolled confounding. 52

20   Likewise, Dr. Ritz initially criticized De Roos 2005 for what she (mistakenly) believed was a short

21   latency period, arguing that for “biological plausibility … we would generally expect a 5-10 year

22

23

24   47
        See Monsanto Daubert Br. at 19-21.
     48
25      Expert Report of Beate Ritz at 16, 23, 25, ECF No. 546-9 (“Ritz Init. Rep.”); Ritz Rebuttal Rep.
     at 10; Ritz Init. Dep. 321:11-322:3.
     49
26      Ritz Supp. Dep. 112:18-114:19.
     50
        Ritz Rebuttal Rep. at 7.
27   51
        Id. at 9.
     52
        Ritz Supp. Dep. 94:4-18; 167:14-22.
28                                                12
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 1   minimum latency between exposure and disease onset for blood system related cancers.” 53 With

 2   the emergence of the updated AHS analyses unambiguously negating that criticism – and Dr. Ritz’s

 3   recognition that this opinion undercuts her attempted reliance on case-control studies that required

 4   significantly shorter latency periods – Dr. Ritz again reversed course, contending now that the

 5   latency period for NHL development might be as short as 1-2 years. 54 Before the 2018 NCI study,

 6   Dr. Ritz also criticized De Roos 2005 for conducting a dose response analysis that compared the

 7   most highly exposed glyphosate users with lower exposed glyphosate users rather than individuals

 8   with no exposure, contending that this approach “reduces any remaining exposure contrasts even
 9   further and thus reduces the ability to estimate risk increases with exposure.” 55 But with the 2018
10   NCI study following her preferred approach of comparing highly exposed glyphosate users to those

11   with no exposure (and finding no increase in NHL), Dr. Ritz reversed course yet again and now

12   argues in favor of the high-to-low exposure dose response approach she previously attacked. 56

13            “Put bluntly, this is not how good science is done.” Haller, 598 F. Supp. 2d at 1297.

14   IV.      Plaintiffs’ Experts’ “Opinion First, Analysis Later” Approach to the 2018 NCI Study
              is Illustrative of Their Flawed Methodology in All of Their General Causation
15            Opinions.
16            In relying on speculation and disproven hypotheses to dismiss the 2018 NCI study’s finding

17   of no association between GBHs and NHL, plaintiffs’ experts “turn[] scientific analysis on its head.

18   Instead of reasoning from known facts to reach a conclusion, the experts here reasoned from an end

19   result in order to hypothesize what needed to be known but what was not.” Sorenen v. Shaklee

20   Corp., 31 F.3d 638, 649 (8th Cir. 1994).

21            Plaintiffs’ experts’ “opinion first, analysis later” methodology has infected their general

22

23   53
        Ritz Init. Rep. at 17. Dr. Ritz argued that De Roos 2005 did not allow sufficient time for NHL to
     develop because the study only followed the cohort for 4-8 years. Id. at 20. In fact, the study had
24   collected exposure information dating back some 20 years prior to enrollment, allowing far longer
25   latency than the case control studies on which she relies. See Neugut Init. Dep. 145:18-146:8.
     54
        Ritz Init. Dep. 196:15-198:14. The impact of Dr. Ritz’s earlier latency argument in undermining
26   her reliance on the U.S.-based case control studies was acknowledged in an earlier deposition by
     plaintiffs’ other epidemiologist, Dr. Neugut. See Neugut Init. Dep. 196:9-198:17, 229:11-233:17.
27   55
        Ritz. Init. Rep. at 23.
     56
        Ritz Supp. Dep. 82:18-83:23, 166:10-167:22.
28                                                 13
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 1   causation opinions in this litigation from its inception. Many of their experts readily acknowledge

 2   reaching their causation opinion upfront based solely on IARC’s outlier 2015 classification of

 3   glyphosate as a probable human carcinogen. 57 The 2015 IARC analysis does not withstand

 4   Daubert scrutiny on its face because it (1) conceded the limited nature of the then-existing

 5   epidemiologic literature for which “chance, bias, and confounding” could not be excluded 58 and (2)

 6   followed a hazard assessment approach that disregards dose such that “the Monographs identify

 7   cancer hazards even when risks are very low at current exposure levels.” 59 But an objective expert

 8   in any event would not have continued blindly relying on IARC after discovery revealed that the
 9   IARC Working Group: (1) based its classification on only “a day or two” of review of the
10   glyphosate science, 60 (2) was not told about updated epidemiologic analyses – including an earlier
11   update of the AHS cohort in the possession of the Working Group Chair, Aaron Blair – that

12   contradicted any suggestion of association between GBHs and NHL, 61 (3) did not – unlike EPA and

13   international regulatory agencies which reached contrary conclusions – review any of the actual

14   glyphosate rodent cancer studies, 62 (4) failed to consider publicly available data on tumor findings

15   in 12 glyphosate rodent cancer studies because “the amount of data in the tables was

16

17   57
        Neugut Init. Dep. 11:8-16, 16:19-23, 18:6-18; Dep. of Christopher Portier 39:24-40:9, 71:8-17,
18   152:19-153:14, ECF No. 546-2 (“Portier Init. Dep.”); Dep. of Chadi Nabhan 64:19-65:6, 68:5-20,
     ECF No. 546-4; Dep. of Charles Jameson 246:16-247:5, ECF No. 546-14 (“Jameson Fact Dep.”).
     58
19      Nelson v. Tenn. Gas Pipeline Co., 243 F.3d 244, 253 (6th Cir. 2001) (“Before any inferences are
     drawn about causation, the possibility of other reasons for the association must be examined,
20   including chance, biases … and confounding causes.”).
     59
21      IARC, IARC Monographs on the Evaluation of Carcinogenic Risks to Humans Preamble, 2 (Jan.
     2006), http://monographs.iarc.fr/ENG/Preamble/CurrentPreamble.pdf; In re Hanford Nuclear
22   Reservation Litig., 292 F.3d 1124, 1133 (9th Cir. 2002) (“the appropriate understanding of [general]
     causation is … whether exposure to a substance for which a defendant is responsible, such as
23   radiation at the level of exposure alleged by the plaintiffs, is capable of causing a particular injury
     or condition in the general population”).
24   60
        Dep. of Aaron Blair 115:12-15, ECF No. 546-17.
     61
25      Id. 176:5-178:7 (updated AHS analysis); id. 148:7-22, 149:22-150:11 (updated pooled analysis of
     North American case-control studies (“NAPP”)); id. 183:5-18, 188:24-189:3, 192:23-193:3 (Dr.
26   Blair acknowledgment that if updated AHS analysis and NAPP study had been considered, it would
     have lowered and rendered insignificant IARC-calculated meta-analysis relative risk of GBHs and
27   NHL upon which plaintiffs’ experts previously relied).
     62
        Jameson Fact Dep. 279:6-24, 284:8-17.
28                                                14
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 1   overwhelming,” 63 and (5) relied upon incorrect statistical analyses (that differed from the analyses

 2   used by original study investigators and the EPA or other regulatory bodies) in concluding that

 3   there was a statistically significant trend in renal tumors in one rodent study. 64

 4           Clearly, from day one, plaintiffs’ experts have been fixed in their causation opinions without

 5   waiver, even in the face of new or additional data that is directly contrary to those opinions. As

 6   plaintiffs’ expert oncologist Dr. Nabhan frankly concedes, “at this point, nothing would shake my

 7   conviction” that glyphosate causes NHL. 65 Such preconceived intransigence now has led them to

 8   opine that the 2018 NCI study “provides [no] evidence at all,” 66 has “no impact on my evaluation of
 9   the epidemiology data,” 67 “contributes nothing,” 68 and “[does not have] any weight in the
10   evaluation of whether glyphosate-based herbicides cause[] non-Hodgkin’s lymphoma.” 69

11   Plaintiffs’ experts’ methodological contortions in support of their “pay no attention to the science”

12   opinions underscore their failure to meet the Daubert standards of scientific reliability and

13   relevance.

14                                               CONCLUSION

15           Monsanto’s Daubert Motion and Summary Judgment Motion Based on Failure of General

16   Causation Proof should be granted.

17   DATED: February 16, 2018                       Respectfully submitted,
18
     63
        Id. 191:25-192:6. Another IARC working group member, Dr. Ross, who served on the subgroup
19   that assessed glyphosate for genotoxicity, conceded at deposition that he had not even read the key
     genotoxicology study cited by IARC in support of its carcinogenicity classification until after the
20   working group had announced its decision. Dep. of Matthew Ross 202:20-203:1 (May 3, 2017)
21   (describing 2009 study as “strong piece[] of evidence”); id. 203:22-204:2 (admitting he did not read
     that study until after conclusions were reached).
     64
22      Portier Init. Dep. 257:24-259:8; see also Expert Report of Christopher Portier, Ex. 7, ECF No.
     546-19 (acknowledging error in IARC’s failure to use exact trend test, which “overstat[ed] the
23   significance of the observed trend”); In re Lipitor (Atorvastatin Calsium) Mktg., Sales Pracs. &
     Prod. Liab. Litig., 145 F. Supp. 3d 573, 582-584 (D.S.C. 2015) (excluding plaintiff’s causation
24   expert for similar “results driven” statistical manipulations).
     65
25      Nabhan Supp. Dep. 17:23-18:8.
     66
        Neugut Supp. Dep. 47:4-17.
     67
26      Portier Supp. Dep. 53:23-54:10.
     68
        Jameson Supp. Dep. 86:19-87:16; see also id. 95:12-23 (arguing that 2018 NCI study “should not
27   be included in any consideration of the cancer hazard of glyphosate or glyphosate formulations”).
     69
        Ritz Supp. Dep. 112:13-17.
28                                                15
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